EXHIBIT 1
TARTER KRINSKY & DROGIN LLP
Substitute Special Litigation Counsel
to Plaintiff-Chapter 7 Trustee

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

x
In re :
ESTELLA BRIZINOVA AND
EDWARD SOSHKIN,
Debtors.
x
ROBERT L. GELTZER, CHAPTER 7
TRUSTEE OF THE ESTATE OF
ESTELLA BRIZINOVA AND
EDWARD SOSHKIN,
Plaintiff,
- against -
NICK SOSHKIN AND
IGOR SOSHKIN,
Defendants. :
x

 

THE LAW OFFICES OF IRINA LUST, PLLC
Attorney for Defendants Nick Soshkin

and Igor Soshkin

Irina Lust, Esq.

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Chapter 7

Case No. 12-42935 (ESS)

Adv. Proc. No. 14-01040 (ESS)

STIPULATION OF SETTLEMENT BETWEEN ROBERT L. GELTZER,
AS CHAPTER 7 TRUSTEE OF ESTELLA BRIZINOVA AND EDWARD SOSHKIN
AND DEFENDANTS NICK SOSHKIN AND IGOR SOSHKIN

This Stipulation of Settlement (“Stipulation”) is entered into between Robert L.

Geltzer, Esq., as Chapter 7 trustee (the “Trustee”) of the estate of Estella Brizinova and Edward

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Soshkin (the “Debtors”), and, as Trustee, the plaintiff in the above-captioned adversary
proceeding (the “Adversary Proceeding”), and Nick Soshkin (“Nick”) and Igor Soshkin
(“Igor,” together with Nick, the “Defendants”), defendants in the Adversary Proceeding.

WHEREAS, in the Trustee’s Complaint in the Adversary Proceeding, the Trustee
seeks a judgment against the Defendants for avoidance and/or recovery under various provisions
of the United States Bankruptcy Code (the “Bankruptcy Code”) and the New York Debtor and
Creditor Law of alleged transfers by and/or on behalf of the Debtors to and/or on behalf of the
Defendants which the Trustee alleges constitute either actual or constructive fraudulent
conveyances; and

WHEREAS, Defendants, in their Answer, deny the principal allegations in the
Trustee’s Complaint, assert affirmative defenses to the Trustee’s claims against them in the
Adversary Proceeding, and assert a counterclaim against the Trustee for legal fees; and

WHEREAS, the Trustee has conducted document discovery of the Defendants in
the Adversary Proceeding; and

WHEREAS, the Trustee and the Defendants (collectively, the “Parties”), in
order to avoid the considerable expenses and the respective litigation risks each would incur
were there to be further litigation with respect to the Adversary Proceeding, including a trial
therein, have engaged through their respective counsel in discussions and negotiations aimed at
resolving the Trustee’s claims against the Defendants in the Adversary Proceeding, as well as
any claims or obligations that were or could be asserted by the Defendants against the Trustee
and/or the Debtors’ estate; and

WHEREAS, those discussions and negotiations between the Parties have resulted

in an agreement between the Parties to settle the aforesaid claims and obligations between them;

{Client/007401/BANK 833/00828272.DOCX;1 } 2
NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and
between the undersigned, in consideration of the mutual promises contained in this Stipulation
and for other good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged, that:

1. Subject to each of the other terms of this Stipulation, the Defendants agree
to pay to the Trustee the total amount of $13,000.00 (the “Settlement Payment’) in settlement
of the Trustee’ claims against the Defendants in the Adversary Proceeding. Simultaneously with
the delivery of an executed copy of this Stipulation to the Trustee’s undersigned counsel, the
Defendants shall also deliver to the Trustee’s undersigned counsel a bank check in the amount of
$13,000.00, representing the entirety of the Settlement Payment to be paid by the Defendants to
the Trustee. The Settlement Payment shall be made payable to the order of “Robert L. Geltzer,
as Chapter 7 Trustee of Estella Brizinova and Edward Soshkin,” and, subject to collection, shall
be held by the Trustee in the bonded bank account being maintained by the Trustee on behalf of
the Debtors’ estate, subject to the further terms set forth below.

2. After the execution of this Stipulation by each of the Parties and their
respective counsel, the Trustee, by his undersigned counsel, shall make a motion (the “Motion”)
to have this Stipulation and the settlement reflected herein approved by an order of the Court (the
“Approval Order”). The Settlement Payment received and collected by the Trustee prior to the
date upon which an Approval Order becomes a Final Order (as defined herein) shall not be
deemed property of the Debtors’ estate until such date. As used herein, a “Final Order” means
an order that has been duly entered on the docket of the Court, and the time for any party in
interest to seek to appeal it or reargue it has expired without a notice of appeal or motion for
permission to appeal having been filed or reargument having been sought, or, in the event any of

such events have occurred, such reargument, if any, has been denied, all appeals taken have been

{Client/007401/BANK833/00828272.DOCX;1 } 3
finally resolved, and the time to take any further appeals, file a motion for further permission to
appeal, or seek certiorari has expired without the Approval Order being vacated, reversed or
modified.

3. In the event an Approval Order is not granted, or if granted, does not
become a Final Order, then (a) this Stipulation shall be deemed null and void, (b) the Trustee,
within ten (10) days after the occurrence of such event, shall return the Settlement Payment to
the Defendants, and (c) the Parties shall be restored to all of their respective rights and positions
in the Adversary Proceeding and otherwise that were extant immediately prior to their entry into
this Stipulation.

4. Within five (5) business days following the date upon which the Approval
Order becomes a Final Order, the Parties shall execute, through their respective counsel, a
stipulation of dismissal, with prejudice, of the Adversary Proceeding (including both the
Trustee’s claims and Defendants’ counterclaim asserted therein), and the Trustee, by his
undersigned counsel, shall cause same to be filed with the Bankruptcy Court as soon as
practicable thereafter.

5. The Parties further agree that effective as of the date upon which the
Approval Order becomes a Final Order:

(a) the Trustee, the Debtors and the Debtors’ estate and, solely in their
capacities as such, each of their respective representatives,
attorneys, agents, professionals, successors and assigns
(collectively, the “Trustee Parties”), shall be deemed to have
released and forever discharged each of the Defendants and, solely
in their capacities as such, the Defendants’ successors, heirs,
executors, administrators, representatives, attorneys, agents,
professionals and assigns (collectively, the “Defendant Parties”),
from all actions, causes of action, suits, debts, dues, sums of
money, accounts, controversies, agreements, promises, variances,
trespasses, damages, judgments, abstracts of judgments, liens,

executions, claims and demands whatsoever, in law, admiralty or
equity, which any Trustee Party ever had, now has or hereafter can,

{Client/007401/BANK833/00828272.DOCX;1 } 4
shall or may have, whether known or unknown, against any
Defendant Party for, upon or by reason of any matter, cause or
thing whatsoever from the beginning of the world to the date of
this Stipulation arising or in any way relating to the Debtors or the
Adversary Proceeding provided, however, that this Stipulation
shall not affect, waive, limit, modify or otherwise change in any
manner the Defendants’ obligations and representations set forth in
this Stipulation, or under any instrument or agreement executed
and delivered pursuant to this Stipulation, which obligations and
representations shall remain in full force and effect.

(b) The Defendant Parties shall be deemed to have released and
forever discharged the Trustee Parties from all actions, causes of
action, suits, debts, dues, sums of money, accounts, controversies,
agreements, promises, variances, trespasses, damages, judgments,
abstracts of judgments, liens, executions, claims, and demands
whatsoever, in law, admiralty or equity, which the Defendant
Parties ever had, now has or hereafter can, shall or may have,
whether known or unknown, against the Trustee Parties for, upon
or by reason of any matter, cause or thing whatsoever from the
beginning of the world to the date of this Stipulation arising or in
any way relating to the Debtors or the Adversary Proceeding
(including, without limitation, any claim for, or on account of, the
Defendants’ payment of the Settlement Payment pursuant to
section 502(h) of the Bankruptcy Code); provided, however, that
this Stipulation shall not affect, waive, limit, modify or otherwise
change in any manner the Trustee’s obligations set forth in this
Stipulation, or under any instrument or agreement executed and
delivered pursuant to this Stipulation, which obligations shall
remain in full force and effect.

6. The Defendants shall not file any proofs of claim in the Debtors’
bankruptcy case in connection with the Settlement Payment pursuant to section 502(h) of the
Bankruptcy Code or in any other connection, and any such claim and all other claims filed by the
Defendants in the Debtors’ bankruptcy case shall be deemed immediately expunged without any
further order of the Bankruptcy Court.

7. Subject to the Approval Order becoming a Final Order, this Stipulation
shall be binding upon the Parties and their respective heirs, executors, successors and assigns, as

well as any subsequently appointed or elected trustee in the Debtors’ case.

{Client/007401/BANK833/00828272.DOCX;I } 5
8. This Stipulation has been entered into for settlement purposes only, and is
not admissible in any action or proceeding except: (a) to enforce the expressed terms and
conditions hereof, including payment pursuant hereto; and/or (b) as evidence of a full settlement
and compromise between the Parties with respect to the subject matter of this Stipulation. The
Defendants’ execution of this Stipulation shall not be deemed an admission on their part or on
the part of any other person or entity of any of the allegations asserted against them in the
Adversary Proceeding, nor an admission of any wrongdoing on their part.

9. This Stipulation shall be governed and construed in accordance with the
internal laws of the State of New York, without regard to principles of conflicts of laws, except
to the extent that provisions of the Bankruptcy Code and/or other provisions of the United States
Code are applicable. The Parties agree that this Court shall retain jurisdiction to enforce this
Stipulation in accordance with the terms thereof.

10. This Stipulation, together with any other documents referred to herein,
constitutes the entire agreement and understanding among the Parties hereto with respect to the
subject matter hereof.

11. Other than the representations by the Defendants contained herein, no
representations have been made to induce either Party to enter into this Stipulation.

12. This Stipulation supersedes all prior agreements, if any, and cannot be
amended, supplemented or modified, nor may any provision hereof be waived, except by a
written instrument executed by the Party against whom enforcement of such amendment,
supplement, modification or waiver is sought.

13. The Parties agree to take any and all necessary and reasonable steps,

including the signing of documents, to effectuate this Stipulation.

{Client/007401/BANK833/00828272.DOCX;1 } 6
14. The Parties hereto represent and warrant to each other that the signatories
to this Stipulation are authorized to execute this Stipulation; that each has power and authority to
execute this Stipulation; and that this Stipulation is duly executed and delivered and, subject to
the Approval Order becoming a Final Order, shall constitute a valid and binding agreement upon
the Parties in accordance with its terms.

15. All representations, warranties, covenants and other provisions made by
the Parties in this Stipulation shall be deemed to have been relied upon by the Parties hereto and
shall survive the execution, performance and delivery of this Stipulation.

16. The Parties shall bear their own attorneys’ fees and expenses in
connection with the matters resolved hereby, including in connection with this Stipulation.

17. All time periods herein shall be computed in accordance with Rule 9006
of the Federal Rules of Bankruptcy Procedure.

18. This Stipulation of Settlement may be signed by the Parties and their
respective counsel in counterpart originals and by electronic mail signature, by PDF and/or by
facsimile signature, all of which shall be deemed to constitute collectively one original executed

version of the Stipulation of Settlement.

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Dated: New York, New York
September 24, 2014

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to Plaintiff-Chapter 7 Trustee

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/s/ Robert L. Geltzer
Robert L. Geltzer, solely as Chapter 7 Trustee
of Estella Brizinova and Edward Soshkin, and
not personally

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Nick Soshkin

 

Igor Soshkin
 

Dated: New York. New York
September _, 2014

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